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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        ) Case No. CR 21-00334 WHA
                                                      )
14           Plaintiff,                               ) STIPULATION AND [PROPOSED] ORDER TO
                                                      ) CONTINUE HEARING AND TO EXCLUDE TIME
15      v.                                            )
                                                      )
16   ARNARDO DONEY MARTINEZ,                          )
                                                      )
17           Defendant.                               )
                                                      )
18
19           The parties in the above-captioned matter are scheduled for a status conference before the Court
20 in the above-captioned matter on February 8, 2022 at 2:00 p.m.

21           The parties stipulate and agree that the United States has produced discovery materials and is in
22 the process of producing additional discovery materials to defense counsel. The United States has also

23 provided defense counsel with an opportunity for case resolution. Defense counsel and defendant

24 Arnardo Doney Martinez will need time to review these discovery materials and the opportunity for

25 resolution, and to discuss defendant’s next steps in the case.

26           Thus, the parties stipulate and request that the February 8, 2022 status conference be continued
27 to March 8, 2022.

28           The parties also stipulate and request that the time period between February 8, 2022 through

     STIP. AND [PROP.] ORDER TO CONT. AND TO EXCL. TIME
     CR 21-00334 WHA
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 1 March 8, 2022 be excluded under the Speedy Trial Act, because failure to grant the requested continuance

 2 would unreasonably deny defense counsel the reasonable time necessary for effective preparation of

 3 counsel, taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv). The ends

 4 of justice served by granting the requested continuance outweigh the best interest of the public and

 5 defendant in a speedy trial and in the prompt resolution of criminal cases. See id. §§ 3161(h)(7)(A),

 6 (B)(iv).

 7          The undersigned Assistant United States Attorney certifies that she has obtained approval from

 8 counsel for defendant to file this stipulation and proposed order.

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10

11     Dated: February 4, 2022                              STEPHANIE M. HINDS
                                                            United States Attorney
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13
                                                            __/s/___________________________________
14
                                                            CHRISTINA LIU
15                                                          Assistant United States Attorney

16

17     Dated: February 4, 2022                              __/s/___________________________________
                                                            RUBEN MUNOZ
18                                                          Counsel for Defendant
                                                            Arnardo Doney Martinez
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     STIP. AND [PROP.] ORDER TO CONT. AND TO EXCL. TIME
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              Case 3:21-cr-00334-WHA Document 30 Filed 02/04/22 Page 3 of 3




 1                                           [PROPOSED] ORDER

 2          Based upon the representations of counsel and for good cause shown, the Court finds that failing

 3 to exclude the time from February 8, 2022 through March 8, 2022 would unreasonably deny defense

 4 counsel and defendant the reasonable time necessary for effective preparation, taking into account the

 5 exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

 6          The Court further finds that the ends of justice served by excluding the time from February 8,

 7 2022 through March 8, 2022 from computation under the Speedy Trial Act outweigh the best interests of

 8 the public and defendant in a speedy trial. See id. § 3161(h)(7)(A).

 9          Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from

10 February 8, 2022 through March 8, 2022 shall be excluded from computation under the Speedy Trial

11 Act. See id. §§ 3161(h)(7)(A), (B)(iv).

12          Furthermore, IT IS HEREBY ORDERED that the status conference set for February 8, 2022 at

13 2:00 p.m. is rescheduled to March 8, 2022 at 2:00 p.m.

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15          IT IS SO ORDERED this _______ day of February 2022.

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18                                                              _________________________________
                                                                THE HONORABLE WILLIAM ALSUP
19                                                              United States District Judge

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     STIP. AND [PROP.] ORDER TO CONT. AND TO EXCL. TIME
     CR 21-00334 WHA
